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 1                                        ATTACHMENT A(5)
 2                             Adversary Proceeding No. 8:23-ap-01046-SC

 3 PLAINTIFF, RICHARD MARSHACK

 4          1.     Eleven of the named defendants have filed answers to the Fourth Amended Complaint.

 5 Those defendants include Bianca Loli; Daniel March; Scott Eadie; Greyson Law Center, PC;

 6 Consumer Legal Group, PC; LGS HoldCo., LLC; Eng Taing; Touzi Capital, LLC; Fidelity National

 7 Information Services, Inc. dba FIS; Worldpay; WorldPay; and Optimum Bank Holdings, Inc. dba

 8 Optimum Bank.

 9          2.     Greyson’s motion to dismiss the Third Amended Complaint [1046 Dkt. No. 513] was

10 denied on June 10, 2024 [1046 Dkt. No. 566]. On July 2, 2024, Greyson timely filed an answer to the

11 Fourth Amended Complaint filed June 28, 2024 [1046 Dkt. No. 583].

12          3.     Loli has also filed a motion to dismiss as to the Third Amended Complaint [1046 Dkt.

13 No. 522] which was denied in part and granted in part [1046 Dkt. No. 567]. The Trustee timely filed

14 his Fourth Amended Complaint curing any purported defects in its pleading against Loli as to his

15 cause of action for Negligence. On July 12, 2024 Loli timely filed her answer to the Fourth Amended

16 Complaint [1046 Dkt. No. 597].

17          4.     Pursuant to the Court’s order approving Trustee compromise [Bank. Dkt. 1035],

18 Maverick Bankcard, Inc. was dismissed from the 1046 Action.
19          5.     Pursuant to the Court’s order approving the Trustee’s compromise [Bank. Dkt. 1770],
20 Payliance will be dismissed from the 1046 Action.

21          6.     Pursuant to the agreement of the parties, Defendants Fidelity National Information

22 Services, Inc. dba FIS, WorldPay, LLC and WorldPay Group will be dismissed without prejudice

23 with each defendant agreeing to continue to be bound by the terms of the Court’s Preliminary

24 Injunction [1046 Dkt. No. 70] until further order of the Court.

25          7.     Trustee has dismissed the United States Postal Services (USPS) in light of its

26 compliance with the TRO and Preliminary Injunction in redirecting mail [Dkt. 103] and Phoenix Law

27 Group, Inc. (as erroneously named) [Dkt. 119].

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 1          8.       By way of stipulated judgment, Trustee has been authorized to dismiss, without

 2 prejudice William Taylor “Ty” Carss, and Mariah Eeya Tan. That dismissal was submitted on

 3 November 8, 2023 [Dkt. 270].

 4          9.       In addition, Trustee has requested dismissal of Occam’s Advisory, Inc., Teracel

 5 Blockchain Fund, LLC, and Chris Winslow pursuant to Federal Rules of Bankruptcy Procedure Rule

 6 41(a)(1)(A)(i).     These defendants have not answered or otherwise appeared, and Trustee’s

 7 investigation has indicated they are not proper targets of the instant action. That dismissal was

 8 submitted on November 8, 2023 [Dkt. 270].

 9          10.      Trustee has also requested dismissal of B.A.T., Inc. d/b/a Coast Processing, Guardian,

10 Maverick Management, LLC, Eng Tang and World Pay, Inc. pursuant to Federal Rules of Bankruptcy

11 Procedure Rule 41(a)(1)(A)(i). These defendants have not answered or otherwise appeared and

12 Trustee’s investigation has indicated that they were erroneously named. Each of these defendants has

13 been properly re-named pursuant to Trustee’s First Amended Complaint [Dkt. 62]. That dismissal

14 was submitted on November 8, 2023 [Dkt. 270].

15          11.      The Court has entered a stipulated order to dismiss Defendants Han Trinh and Jayde

16 Trinh [Dkt. 219]. Trustee intends to file separate adversary proceedings as to these dismissed

17 defendants.

18          12.      The Court entered an order dismissing Marich Bein, LLC and BankUnited, N.A. from
19 the 1046 Action in order to sever the trustee’s claims [1046 Dkt. No. 446]. Trustee filed a separate
20 Adversary Proceeding No. 8:23-ap-1040-SC as to these defendants among others.

21          13.      Four named defendants have yet to be served, including EPPS, Authorize.net, Equipay

22 and World Global. As to Authorize.net, Trustee intends to dismiss this entity from the complaint and

23 file a separate adversary proceeding naming the proper parent company, Visa, Inc. pending the receipt

24 of business records pursuant to subpoena. As to EPPS, Trustee has identified counsel for the defendant

25 who has agreed to accept service of the Fourth Amended Complaint on EPPS’ behalf. As to the

26 remaining defendants, Trustee intends to request another summon based on the filing of Fourth

27 Amended Complaint and his continued investigation into proper service of these entities.

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 1          14.    The Court previously entered default as to Defendants Vulcan Consulting Group, LLC

 2 [Dkt. 144]; Wes Thomas [Dkt. 145]; Jimmy Chhor [Dkt. 174]; Oakstone Law Group, PC [Dkt. 177];

 3 Prime Logix, LLC [Dkt. 179]; Revolv3, Inc. [Dkt. 180]; and Guardian Processing, LLC [Dkt. 181].

 4 That said, Trustee will be filling renewed requests for default based on the Second Amended

 5 Complaint as to all defendants that have not answered or sought an extension of time that has been

 6 approved by order of the Court.

 7          15.    Trustee, with the assistance of the Court employed financial accountants Grobstein

 8 Teeple, LLP [Dkt. 169], is working diligently to complete its forensic account in order to prepare and

 9 file for default judgment, as appropriate given this matter remains in the early stages of discovery.

10 Trustee awaits production of bank records pursuant to issued 2004 examinations before completing

11 these default judgments.

12          16.    As to any remaining defendants, Trustee has either had entered into a stipulation filed

13 with the Court for extension of time to respond to the Adversary proceeding pending further meet and

14 confer efforts and informal discovery, intends to dismiss or file for entry of default based on the

15 Trustee’s Third Amended Complaint.

16          17.    Trustee remains vigilant and focused on maximizing recovery of all of LPG assets to

17 the Debtor’s Estate for the benefit of all creditors, including consumer creditors. That said, Trustee

18
     has and continues to work with Defendants in good faith to obtain discovery, records and work
19
     towards resolution of the claims raised in the Fourth Amended Complaint.
20

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 1                                           ATTACHMENT G
 2                              Adversary Proceeding No. 8:23-ap-01046-SC

 3 PLAINTIFF, RICHARD MARSHACK

 4          1.      At this time there are a total of eleven named defendants who have answered the

 5 operative Fourth Amended Complaint. There are four defendants who have yet to be served, as

 6 discussed above. There are seven Defendants where the Court has entered the Trustee’s request for

 7 default. Lastly, there are three Defendants Trustee anticipates dismissing from the Action. Based on

 8 the sheer number of defendants, discovery, preparation and length of trial in this matter is expected

 9 to exceed normal expectations. That said, Trustee is diligently working with all defendants to obtain

10 informal discovery and work towards potential resolution in order to narrow the scope of discovery

11 and trial in this matter, as the information provided to Trustee permits.

12          2.      Based on the documents produced to the Trustee to date, there are over 100 million

13 individual electronically stored documents that the Trustee is diligently working through to review.

14          3.      In an effort to stay in front of the enormous volume of discovery necessary to recover

15 assets under the Trustee’s Third Amended Complaint in this Adversary Proceeding, Trustee has taken

16 reasonable steps in light of the recent sale of LPG’s assets and based on the information to date to

17 stay in front of discovery. In this regard, Trustee has served a number of subpoenas to targeted

18 institutions in order to continue efforts to trace and recover Estate property.
19          4.      Trustee has completed the 7026 conference as to answering Defendants, Bianca Loli,
20 Consumer Legal Group, PC, LGS HoldCo, LLC, Eng Taing, Touzi Capital, LLC and Scott Eadie.

21 Trustee anticipates completing the initial disclosures as to CLG and LGS Holdco on or before October

22 9, 2024 due to defendants retaining new counsel and the parties continued effort to resolve this matter.

23 Trustee further anticipates completing initial disclosures as to Optimum by mid-November as a result

24 of the Parties efforts to reach a resolution of this matter, which was objected to by CLG.

25          5.      Trustee has filed a separate adversary proceedings as to: 1) newly named defendants

26 for fraudulent conveyance and avoidance of Estate property; 2) standalone claims recently discovered

27 against named defendants; and claims severed from the 1046 Action including those against certain

28 Defendants, Marich Bein and BankUnited whose involvement are significantly related.
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
is:     DINSMORE & SHOHL LLP 655 W. Broadway, Suite 800, San Diego, California 92101

A true and correct copy of the foregoing document entitled (specify): JOINT STATUS REPORT will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On October 2, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at
the email addresses stated below:

                                                                                Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On October 2, 2024, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                   JUDGE'S COPY
                   The Honorable Scott C. Clarkson
                   United States Bankruptcy Court
                   Central District of California
                   Ronald Reagan Federal Building and Courthouse
                   411 West Fourth Street, Suite 5130 / Courtroom 5C
                   Santa Ana, CA 92701-4593

                                                                                Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on                ,I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
than 24 hours after the document is filed.


                                                                                Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  October 2, 2024                  Bonnie Connolly                                       /s/ Bonnie Connolly
  Date                          Printed Name                                             Signature




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1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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